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IN THE UNITED sTATEs DISTRICT coURT F"-ED BY 9§_. D-C-
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MARILYN JoHNsoN, and M)MAS_M. GOULD
DURAND MARTIN, er ai, CLEWJ 153 §EST§§C;I PLiilgtliiT
}§` ls`i i‘."?'.i':d s

Plaintiffs,
vs.

CITY OF MEMPHIS,
Defendant.

FLORENCE BILLINGSLEY and
AUNDRA SEGREST, et al.,
Plaintiffs,

VS.

CITY OF MEMPHIS,
Defendant,

No.: 00 2608-D \/
04-2017-D

**********

No.: 04-2013-D

 

ORDER GRANTING DEFENDANT’S MOTION FOR DIRECTED VERDICT
AS TO THE CLAIMS WITHDRAWN BY PLAINTIFFS

 

The trial of these consolidated cases began on July 11, 2005. At the close of Plaintiffs’

proof, Defendant orally moved for a directed verdict with respect to some of Plaintiffs’ claims.

The Court reserved argument and ruling on said motion until the end of trial except for the

following claims which Plaintiffs’ counsel announced prior to trial that the Plaintiffs Would not

pursue;

(a) The non-minority Plaintiffs' claims in Johnson, et al. v. City of Mempht's, No. 00~

2608 of intentional racial discrimination arising from the 2000 sergeant promotion process

brought under rI`itle VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq., the

Tennessee Human Rights Act, Tenn.CodeAnn. § 4-21-401, et seq., the Equal Protection Clause

Th|s document entered on the docket sheet In compliance

with Hule 58 and/cr 79(a) FRCP on 37'

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of the Fourteenth Amendment to the U.S. Constitution, 42 U.S.C. §§ 1981 & 1983, and the
Tennessee Constitution Article I, § 8. These plaintiffs’ other claims, i.e., violation of the city
laws remain.

(b) The claims brought by the non-minority Plaintiffs (Acosta and Cook) in Joknson, et
al v. Ct`ty of Memphis, No. 00-2608 of negligence and violation of the Equal Protection Clause
of the Fourteenth Amendment to the U.S. Constitution under a "class of one" theory with
respect to the January 10, 2003 sergeant promotions. These plaintiffs’ other claims, i.e.,
violation of the city laws, remain.

(c) The claims brought by the Class B minority Plaintiffs in Johnson, et al. v. Ct'ty of
Memphis, No. 00-2608 of negligence and violation of the Equal Protection Clause of the
Fourteenth Amendment to the U.S. Constitution under a "class of one " theory with respect to
the January lO, 2003 sergeant promotionsl These plaintiffs’ other claims, i.e. violation of the
city laws and intentional racial discrimination, remain.

(d) The claims brought by the minority plaintiffs in Johnson, et at'. v. Cin ofMemphis,
No. 04-2017 and Billingsley, et al. v. Cily of Memphis, No. 04-2013 of negligence and violation
of the Equal Protectiori Clause of the Fourteenth Amendment to the U.S. Constitution under a
"class of one" theory with respect to the January 10, 2003 sergeant promotions These
plaintiffs’ other claims, i.e. violation of the city laws and intentional racial discrimination,
remain.

The Court grants defendant’s motion for a directed verdict only as to the above described
claims. It is therefore ORDERED, DECREED and ADIUDGED that Plaintiffs’ claims listed

above be and are hereby dismissed with prejudice.

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so 0RDERED this me ¢’7’{/` day er M, 2005.

 

nited States District Judge

Approved for Entry:

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Honorable Bernice Donald
US DISTRICT COURT

